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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

 MICHAEL GAUME, on behalf of
 himself and those similarly situated,
                       Plaintiff,
 -vs-
                                                Case No.:
 STORM SMART HOLDINGS LLC,
 THE SMART COMPANIES, LLC, and
 STORM SMART BUILDING
 SYSTEMS LLC,
                       Defendants.

        COLLECTIVE ACTION COMPLAINT UNDER FAIR LABOR
          STANDARDS ACT AND DEMAND FOR JURY TRIAL

         Plaintiff, MICHAEL GAUME (“GAUME” or “Plaintiff”), on behalf of

himself and other employees similarly situated, sues Defendants, STORM SMART

HOLDINGS LLC, THE SMART COMPANIES, LLC, and STORM SMART

BUILDING SYSTEMS LLC, and states:

                                NATURE OF ACTION
1.       Plaintiff brings this action under the Fair Labor Standards Act of 1938, as

         amended, 29 U.S.C. § 201 et seq.(“FLSA”).

2.       Plaintiff alleges Defendants violated 29 U.S.C. § 207 of the FLSA by failing to

         pay Plaintiff and other similarly situated employees overtime wages.
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3.   Pursuant to 29 U.S.C. § 216(b) of the FLSA, Plaintiff brings this action on

     behalf of himself and other similarly situated employees, to recover unpaid

     overtime compensation plus liquidated damages.

4.   Plaintiff, and other employees similarly situated, were employed by

     Defendants as installers.

5.   The overtime violation giving rise to this action is the result of a common

     policy, practice, plan, or scheme to avoid the payment of overtime wages to

     installers.

                                    PARTIES
6.   Plaintiff MICHAEL GUAME is currently employed by Defendants as an

     installer and has been employed in that position for at least three years

     preceding the filing date.

7.   Defendant STORM SMART HOLDINGS LLC is a Delaware corporation

     headquartered in Fort Myers, Florida, with its principal place of business

     located at 6182 Idlewild St., Fort Myers, Florida 33966.

8.   Defendant THE SMART COMPANIES, LLC is a Delaware corporation

     headquartered in Fort Myers, Florida, with its principal place of business

     located at 6182 Idlewild St., Fort Myers, Florida 33966.

9.   Defendant STORM SMART BUILDING SYSTEMS LLC is a Delaware

     corporation headquartered in Fort Myers, Florida, with its principal place of

     business located at 6182 Idlewild St., Fort Myers, Florida 33966.



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                       JURISDICTION AND VENUE

10.   The Court has subject matter jurisdiction under 28 U.S.C. § 1331 because this

      action arises under the FLSA.

11.   The Middle District of Florida, Fort Myers Division, is the proper venue

      because the defendant entities are headquartered in Fort Myers, Florida,

      where Defendants employed Plaintiff and other similarly situated employees

      as installers.

      SINGLE EMPLOYER AND INTEGRATED ENTERPRISE

12.   Although separate entities, STORM SMART HOLDINGS LLC, THE

      SMART COMPANIES LLC, and STORM SMART BUILDING SYSTEMS

      LLC are a single employer and integrated enterprise for all purposes under the

      FLSA.

13.   STORM SMART HOLDINGS LLC is a Delaware corporation formed on or

      about March 17, 2021. Although not registered with the Florida division of

      corporations to transact business in Florida, STORM SMART HOLDINGS

      LLC does transact substantial business in Florida, which includes advertising

      for employees in Southwest Florida, hiring employees in Southwest Florida,

      managing operations, and transacting business related to hurricane protection

      sales and manufacturing.

14.   THE SMART COMPANIES LLC is a Delaware corporation formed on

      March 26, 2021. THE SMART COMPANIES LLC is the surviving company



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      of The Smart Companies, Inc., a Florida corporation converted to a foreign

      LLC pursuant to Articles of Conversion filed on March 26, 2021.

15.   STORM SMART BUILDING SYSTEMS LLC is a Delaware corporation

      formed on March 24, 2021. STORM SMART BUILDING SYSTEMS LLC

      is the surviving company of Storm Smart Building Systems, Inc. a Florida

      corporation converted to a foreign LLC pursuant to Articles of Conversion

      filed on March 24, 2021. THE SMART COMPANIES LLC is the Manager of

      Defendant STORM SMART BUILDING SYSTEMS LLC.

16.   STORM SMART HOLDINGS LLC, THE SMART COMPANIES LLC,

      and STORM SMART BUILDING SYSTEMS LLC are all headquartered in

      Fort Myers, Florida, with the same principal place of business located at 6182

      Idlewild St., Fort Myers, Florida 33966.

17.   At all times material, STORM SMART HOLDINGS LLC, THE SMART

      COMPANIES, LLC, and STORM SMART BUILDING SYSTEMS LLC,

      shared a common business purpose, to manufacture, sell and install hurricane

      protection products, primarily in Florida. To accomplish this common

      purpose, STORM SMART HOLDINGS LLC, THE SMART COMPANIES,

      LLC, and STORM SMART BUILDING SYSTEMS LLC, manage and share

      a workforce of approximately 250 employees.

18.   Pursuant to 29 U.S.C. 203(r)(1) of the FLSA, STORM SMART HOLDINGS

      LLC, THE SMART COMPANIES, LLC, and STORM SMART BUILDING

      SYSTEMS LLC, are a single “enterprise.” All three companies perform
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      “related activities” through unified operations and are under common

      ownership, management, and control.

19.   At all times material, STORM SMART HOLDINGS LLC, THE SMART

      COMPANIES, LLC, and STORM SMART BUILDING SYSTEMS LLC,

      were the single employer of Plaintiff and those similarly situated based on (i)

      common management; (ii) interrelated operations; (iii) centralized labor

      relations; (iv) common ownership and (v) common financial control.

20.   Unless stated otherwise, STORM SMART HOLDINGS LLC, THE SMART

      COMPANIES LLC, and STORM SMART BUILDING SYSTEMS LLC,

      will be referred to as “STORM SMART” and pled as a single employer and

      integrated enterprise under the FLSA for purposes of FLSA coverage and

      imposing liability.

                               FLSA COVERAGE
      Enterprise Coverage
21.   At all times material to this action, Defendants STORM SMART were

      Plaintiff’s “employer” within the meaning of the FLSA.

22.   At all times material, Defendants STORM SMART employed at least two or

      more employees who handled, sold, or otherwise worked with goods or

      materials that had once moved through interstate commerce.

23.   At all times material, Defendants STORM SMART had gross sales volume of

      at least $500,000 annually.




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      Individual Coverage
24.   At all times material, Plaintiff was “engaged in commerce” and is individually

      covered under the FLSA.

25.   At all times material, the work performed by the Plaintiff was essential to the

      business conducted by Defendants STORM SMART

26.   The products and materials used by Plaintiff on a regular and recurrent basis

      were supplied by STORM SMART and moved directly through interstate

      commerce.

27.   To further Defendants business purpose, Plaintiff regularly and recurrently

      communicated with customers and prospective customers outside of the state

      of Florida.

28.   To further Defendants business purpose, Plaintiff regularly and recurrently

      communicated with vendors and suppliers outside of the State of Florida.

                    COLLECTIVE ACTION ALLEGATIONS

29.   Plaintiff and the putative class members are current and past shutter installers

      defined as follows:

      All shutter installers who worked for Storm Smart at any time in the three
      (3) years preceding the filing of the Complaint who worked over forty (40)
      hours in any workweek and were not paid overtime wages.

30.   At any given time, STORM SMART employees more than one hundred

      shutter installers. These installers perform the same or similar job duties as

      Plaintiff, and under the same compensation policy as Plaintiff



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31.   Plaintiff and the other installers in the putative class performed the same or

      substantially similar job duties.

32.   Plaintiff and the putative class members were paid under the same

      compensation structure giving rise to the overtime violations.

33.   Plaintiff and the other installers were paid a percentage of each job plus a piece

      rate for certain items.

34.   Plaintiff and the other installers regularly worked more than forty (40) hours in

      a workweek.

35.   Prior to May 2021, Defendants did not pay overtime wages to Plaintiff or the

      other installers.

36.   After May 2021, Defendants paid overtime wages to Plaintiff and the other

      installers, but failed to include compensable time completing job closing

      paperwork and drivetime back to the shop.

37.   This common policy or practice resulting in the overtime violations uniformly

      applied to Plaintiff and the similarly situated installers.

                                          FACTS

38.   STORM SMART sells, manufactures, and installs hurricane protection

      products, including shutters. To accomplish its business purpose, STORM

      SMART employs a substantial workforce of approximately 250 employees.

39.   In approximately June 2018, STORM SMART hired Plaintiff as a “shutter

      installer.” Plaintiff remains employed in this position.



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40.   Before shutter installation, a sales representative meets with the customer,

      obtains a signed contract, and gets a deposit. After permitting, the customer

      meets with a design specialist to design the project. After this work is

      complete, STORM SMART manufactures the shutters or obtains the

      materials required for installation.

41.   When a project is ready for installation, STORM SMART assigns an installer,

      and an installation appointment is scheduled with the customer.

42.   The primary duties of an installer are:

      a.    Collect the materials needed for installation;

      b.    Report to the jobsite with all tools and materials on the day of

            installation;

      c.    Install the shutters and all component parts;

      d.    Clean the jobsite after installation is complete;

      e.    Complete all closing paperwork;

      f.    Collect any final payment from the customer.

      g.    Provide service or repairs if requested by the customer for one year after

            the installation date

43.   As part of their duties, installers are required to complete project or pay sheets.

      Although these pay sheets capture some of the installers’ time they are not

      accurate.

44.   STORM SMART does not allow Plaintiff and the other installers to record

      time spent after hours completing closing paperwork. Plaintiff and the other
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      similarly situated installers spend a substantial amount of time on post-job

      paperwork at their home or off-site.

45.   Plaintiff and the other installers are also prohibited from recording all of their

      compensable driving time. Although STORM SMART allows Plaintiff and

      the other installers to record time at the shop and driving to the jobsite in the

      morning, it prohibits Plaintiff and the other installers from recording time

      driving from the jobsite back to the facility. However, this drivetime is

      compensable because it is primarily to benefit the employer and work is

      actually performed.

46.   On average, Plaintiff and the other installers worked approximately eleven

      hours per day, six days per week. In the three years preceding the filing of the

      Complaint, Plaintiff and the other installers regularly worked more than 40

      hours per week.

47.   In the three years preceding the filing of the Complaint, Plaintiff and the other

      installers were paid a percentage of each job plus a piece rate for certain items.

48.   Prior to May 2021, STORM SMART did not pay overtime wages to Plaintiff

      or the other installers.

49.   After about May 2021, STORM SMART began paying Plaintiff and the other

      installers overtime wages, but continued its practice of not including the offsite

      completion of paperwork and drivetime back to the shop as compensable.




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50.   Although Plaintiff and the other installers are required, permitted, or

      encouraged to work more than forty hours per week, they are not paid

      overtime.

                  STATEMENT OF CLAIM
       VIOLATION OF 29 U.S.C. § 207 (UNPAID OVERTIME)

51.   All previous paragraphs are incorporated as though fully set forth herein.

52.   Plaintiff and the putative class members worked more than forty (40) hours in

      one or more workweeks.

53.   STORM SMART failed or refused to compensate Plaintiff and the other

      installers overtime wages calculated 1.5 times the regular rate for all hours

      worked.

54.   Defendants violated 29 U.S.C. § 207 of the FLSA by failing to pay overtime

      wages to Plaintiff and similarly situated installers

55.   Defendants knew its policy and practice for installer compensation violated

      the FLSA overtime provisions. Defendant acted willfully or with reckless

      disregard of the FLSA because Defendants knew its practice violated the law

      and continued implementing the unlawful practice.

56.   Pursuant to 29 U.S.C. § 216(b), Plaintiff and those similarly situated seek

      unpaid overtime compensation plus liquidated damages in an equal amount.




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      WHEREFORE, Plaintiff respectfully requests the following relief on behalf of

himself and those similarly situated installers:

          a. Pursuant to 29 U.S.C. § 216(b), an order of conditional certification

             authorizing notice to the perspective class and an opportunity to opt-in

             to the action.

          b. A declaration that Defendant has violated the overtime provisions of 29

             U.S.C. § 207;

          c. Unpaid overtime wages;

          d. Liquidated damages;

          e. Attorney fees and costs pursuant to 29 U.S.C. § 216(b);

          f. Any other relief this Court deems to be just and proper.

                                  JURY DEMAND
      Plaintiff demands trial by jury on all issues so triable as of right.

Dated: April 20, 2022

                                         Respectfully submitted,

                                         /s/ Jason L. Gunter
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